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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                   )
                                            )
                         Plaintiff,         )
                                            )                       CRIMINAL ACTION
v.                                          )
                                            )                       No. 06-20056-03-KHV
TONI BAKER,                                 )
                                            )
                         Defendant.         )
____________________________________________)

                                 MEMORANDUM AND ORDER

        This matter is before the Court on defendant’s Motion For Reduction Of Sentence Pursuant

To 18 USC § 3582(c)(2) Based On The Fair Sentencing Act Of 2010 And Amendment 750 (Doc.

#814) filed January 17, 2013. For reasons stated below, the Court overrules defendant’s motion.

                                       Factual Background

        On March 31, 2006, a grand jury returned a 36-count indictment which charged Toni Baker

and 13 co-defendants. In particular, the indictment charged defendant with (1) conspiracy to

distribute and possess with intent to distribute 50 grams or more of a mixture or substance

containing cocaine base (crack), five kilograms or more of a mixture or substance containing cocaine

and 100 kilograms or more of marijuana, in violation of 21 U.S.C. §§ 841(a)(1) and 846; (2) three

counts of using a telephone to facilitate a drug trafficking offense, in violation of 21 U.S.C. § 843(b)

and 18 U.S.C. § 2; and (3) money laundering, in violation of 18 U.S.C. § 1956(a)(1)(A)(I),

(a)(1)(B)(I) and 2. On October 23, 2007, pursuant to a plea agreement, defendant pled guilty to

money laundering in violation of 18 U.S.C. § 1956. See Petition To Enter Plea Of Guilty And Order

Entering Plea (Doc. #328). Defendant’s total offense level was 40, with a criminal history
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category IV, resulting in a guideline range of 360 months to life in prison.1 See Presentence

Investigation Report (“PSIR”) dated Mar. 24, 2009 ¶¶ 174-75. Even so, defendant’s sentence was

capped by the statutory maximum of 240 months in prison for the offense of money laundering. See

id. At the original sentencing hearing on March 31, 2009, defendant objected to her criminal history

category, the calculation of drug quantity and a firearm enhancement.2 In particular, defendant

claimed that the offense level in the PSIR was based in part on statements to agents after she had

agreed to cooperate and after agents had promised that the statements would not be used against her.

Defendant conceded, however, that even if the Court sustained all of her objections, she faced a

minimum guideline range starting at 135 months which was greater than the 96-month sentence

which the government intended to propose in its Section 5K1.1 motion. See Testimony Of

Defendant On March 31, 2009.

       The Court continued sentencing to April 7, 2009. At the beginning of the hearing that day,

the parties announced that they had agreed that defendant would withdraw her objections and the

government would file a Section 5K1.1 motion and request a sentence of 96 months. After

reviewing the relevant factors, the Court sentenced defendant to 96 months in prison. See Judgment

In A Criminal Case (Doc. #648) filed April 9, 2009. Defendant did not appeal.




       1
              The PSIR calculated that defendant was accountable for 19 kilograms of cocaine
(converted to 3,800 kilograms of marijuana) and 87 kilograms of heroin (converted to
87,000 kilograms of marijuana). The total marijuana equivalency was 30,000 kilograms or more
so defendant’s base offense level was 40 (including two additional levels for possession of a
firearm).
       2
                Defendant also argued that she was eligible for a three-level decrease for acceptance
of responsibility instead of the two levels proposed in the PSIR.

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                                               Analysis

       Defendant asks the Court to reduce her sentence under the Fair Sentencing Act of 2010

(“FSA”). See Pub. L. 11-220. In particular, she asks the Court to retroactively apply the FSA,

which she asserts lowers her sentencing guideline range. A district court may reduce a term of

imprisonment where the Sentencing Commission has lowered the sentencing range pursuant to 28

U.S.C. § 994(o) and “a reduction is consistent with the applicable policy statements issued by the

Sentencing Commission.” 18 U.S.C. § 3582(c)(2). Section 1B1.10(a)(2), one of the applicable

policy statements, provides that a reduction is not authorized if the retroactive amendments do not

apply to defendant or do not have the effect of lowering the applicable guideline range.

       Defendant argues that under Amendment 750 to the Sentencing Guidelines (implementing

the FSA) and only considering the quantities of cocaine and cocaine base discussed at the time of

her guilty plea, her total offense level is 36 with a criminal history category IV for a guideline range

of 262 to 327 months. In defendant’s calculation, she does not include any amount of heroin. As

noted, the PSIR calculated that defendant was accountable for some 87 kilograms of heroin, which

by itself, is well above the threshold amount (30 kilograms of heroin) for a base offense level of 40

(including two additional levels for possession of a firearm). At sentencing, defendant withdrew her

objection to the quantity of heroin with the understanding that the government would file a

Section 5K1.1 motion and request a sentence of 96 months in prison. Defendant has not shown any

basis for the Court, nearly four years later, to reconsider her withdrawn objection to the quantity of

heroin. Because the FSA and the corresponding amendment to the Sentencing Guidelines do not

lower defendant’s applicable guideline range, the Court overrules defendant’s motion.

       A federal district court may modify a defendant’s sentence only where Congress has


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expressly authorized it to do so. See 18 U.S.C. § 3582(c); United States v. Blackwell, 81 F.3d 945,

947 (10th Cir. 1996). Congress has set forth three limited circumstances in which a court may

modify a sentence: (1) upon motion of the Director of the Bureau of Prisons in extraordinary

circumstances or where defendant has reached 70 years of age and has served at least 30 years in

prison; (2) when “expressly permitted by statute or by Rule 35;” and (3) when defendant has been

sentenced “based on a sentencing range that has subsequently been lowered by the Sentencing

Commission.” 18 U.S.C. § 3582(c)(1), (2); see Blackwell, 81 F.3d at 947-48. None of these

exceptions apply here. Moreover, Rules 35 and 36 of the Federal Rules of Criminal Procedure

clearly do not authorize a substantive modification of defendant’s sentence at this time. See

Blackwell, 81 F.3d at 947-48; Fed. R. Crim. P. 35 (authorizes resentencing to correct illegal sentence

on remand from court of appeals, to reflect defendant’s substantial assistance on motion of the

government and to correct arithmetical, technical or other clear error within 14 days of sentencing);

Fed. R. Crim. P. 36 (authorizes court to correct clerical-type errors). Finally, the Court does not

have inherent authority to resentence defendant. See Blackwell, 81 F.3d at 949. For these reasons,

the Court does not have jurisdiction to resentence defendant at this time.

       IT IS THEREFORE ORDERED that defendant’s Motion For Reduction Of Sentence

Pursuant To 18 USC § 3582(c)(2) Based On The Fair Sentencing Act Of 2010 And Amendment 750

(Doc. #814) filed January 17, 2013 be and hereby is OVERRULED.

       Dated this 25th day of January, 2013, at Kansas City, Kansas.

                                               s/ Kathryn H. Vratil
                                               Kathryn H. Vratil
                                               United States District Judge




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